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March 24, 2020

The Honorable Denis R. Hurley
Senior United States District Judge
United States Courthouse

100 Federal Plaza

Central Islip, N.Y. 11722

Re: United States v. John Quadrino
Criminal Docket No. 17-cr-153

Dear Judge Hurley:

Please accept this letter respectfully requesting an adjournment of my
client John Quadrino’s sentencing which is currently scheduled for April 23, 2020.
Given the current status of the pandemic and the fact that Mr. Quadrino is not
incarcerated, the Government has consented to our request. I have been in contact
with Assistant United States Attorney Mark Misorek, and both sides are requesting
July 10, 2020, subject to the Court’s approval.

Thank you very much for your consideration of this application.

Respectfully Submitted,

/s/ Joseph R. Conway
Joseph R. Conway

cc: AUSA Mark Misorek
via ECF
